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              7    ATTORNEYS FOR Defendants                   ATTORNEYS FOR Plaintiffs
                   NIXON PEABODY, LLP and                     SOLARMORE MANAGEMENT
              8    FORREST DAVID MILDER                       SERVICES, INC., a California corporation

              9                             UNITED STATES DISTRICT COURT

             10                             EASTERN DISTRICT OF CALIFORNIA

             11                                  SACRAMENTO DIVISION

             12
                  SOLARMORE MANAGEMENT                          Case No. 2:20-cv-02446-JAM-DB
             13   SERVICES, INC., a California corporation;
                  CARL AND BARBARA JANSEN, a married            JOINT STIPULATION TO EXTEND
             14   couple,                                       TIME TO MEET AND CONFER AND
                                                                FILE STATUS REPORT AND ORDER
             15                Plaintiff,
                                                                Date Transferred:     12/10/2020
             16         v.
                                                                Trial Date: Not yet set
             17   NIXON PEABODY, LLP, a New York limited
                  liability partnership; FORREST DAVID
             18   MILDER, a married individual,

             19                Defendant.

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                                 JOINT STIPULATION TO EXTEND TIME TO FILE A STATUS REPORT
                                                 Case No. 2:20-cv-02446-JAM-DB
1625605.v3
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              1                                  STIPULATION OF THE PARTIES

              2           The parties, Plaintiffs Solarmore Management and Carl and Barbara Jansen (“Plaintiffs”)

              3   and Defendants Nixon Peabody and Forrest David Milder (“Defendants”), by and through their

              4   attorneys, hereby stipulate and agree as follows:

              5           WHEREAS, removal of this matter from Los Angeles Superior Court to the Central

              6   District of California was effected on November 4, 2020;

              7           WHEREAS, on November 20, 2020, Defendants filed their motion to transfer venue to

              8   the Eastern District of California pursuant to 28 U.S.C. § 1404 (see ECF No. 20);

              9           WHEREAS, on December 8, 2020, Judge Christina A. Snyder in the Central District of

             10   California granted Defendants’ non-opposed motion to transfer venue (see ECF No. 25);

             11           WHEREAS, on December 10, 2020, the case was transferred to the Eastern District of

             12   California (see ECF No. 26);

             13           WHEREAS, on December 17, 2020, the Court ordered that this action was related to

             14   thirteen other actions pending in the Eastern District and assigned this action to Judge John A.

             15   Mendez (see ECF No. 30);

             16           WHEREAS, Plaintiffs’ current counsel will be withdrawing and Plaintiffs plan to

             17   substitute new counsel in January or February of 2021;

             18           WHEREAS, the Court has vacated all upcoming deadlines for this action, including the

             19   deadline for Defendants’ answer or responsive pleading, which was previously set for February 8,

             20   2021;

             21           WHEREAS, the Court’s December 17, 2020 Order Requiring Service of Process and Joint

             22   Status Report (ECF No. 31) would require the parties to meet and confer and submit a joint status

             23   report on or before January 4, 2020 pursuant to Rule 26(f) (i.e., “within sixty (60) days . . . from

             24   the date of removal”);

             25           IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned parties

             26   through their respective counsel, and subject to the approval of the Court, that the deadline for the

             27   Fed. R. Civ. P. 26(f) conference and the subsequent status report be extended to 120 days from

             28   the entry of the Court’s order granting this stipulation or 30 days after the Court rules on the

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                                   JOINT STIPULATION TO EXTEND TIME TO FILE A STATUS REPORT
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              1   Defendants’ Motion to Dismiss, whichever occurs sooner.

              2

              3   Dated: December 22, 2020                           KEKER, VAN NEST & PETERS LLP
              4

              5                                                By:   /s/ Eric H. MacMichael
                                                                     ELLIOT R. PETERS
              6                                                      ERIC H. MACMICHAEL
                                                                     BAILEY W. HEAPS
              7
                                                                     Attorneys for Defendants
              8                                                      NIXON PEABODY, LLP and
                                                                     FORREST DAVID MILDER
              9

             10   Dated: December 22, 2020                           KING, HOLMES, PATERNO &
                                                                     SORIANO, LLP
             11

             12                                                      /s/ John Snow
                                                               By:   (as authorized by email on 12/22/20)
             13                                                      HOWARD KING
                                                                     JOHN SNOW
             14
                                                                     Attorneys for Plaintiffs
             15                                                      SOLARMORE MANAGEMENT
                                                                     SERVICES, INC., A CALIFORNIA
             16                                                      CORPORATION
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                                 JOINT STIPULATION TO EXTEND TIME TO FILE A STATUS REPORT
                                                 Case No. 2:20-cv-02446-JAM-DB
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              1                                                ORDER

              2          Based upon the stipulation of the Parties, the moving papers, and for good cause shown,

              3   the Court extends the deadline for the Fed. R. Civ. P. 26(f) conference and the subsequent status

              4   report to 120 days from the entry of this order or 30 days after the Court rules on the Defendants’

              5   Motion to Dismiss, whichever occurs sooner.

              6

              7          IT IS SO ORDERED.

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                  DATED: December 22, 2020                     /s/ John A. Mendez
             10
                                                               THE HONORABLE JOHN A. MENDEZ
             11                                                UNITED STATES DISTRICT COURT JUDGE
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                                   JOINT STIPULATION TO EXTEND TIME TO FILE A STATUS REPORT
                                                   Case No. 2:20-cv-02446-JAM-DB
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